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                                                                   #231
 % A 0 2458   (Rev. 06/05) Judgment in a Criminal Case




                       SOUTHERN                                  District of                                           ILLINOIS

          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                             v.
                  TIMOTHY GRACZYK
                                                                         Case Number:             4:04CR40027-002-JPG

                                                                         USM Number: 06847-025
                                                                          Brian K. Trentman
                                                                         Defendant's Attorney
THE DEFENDANT:
&ifpleaded guilty to count(s)        102 of the 3rd Superseding Indictment

C] pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense
                                                                                 .,;.   ,
                                                                                                   .
                                                                                             r;:if . c!$4;;
                                                                                                        , .
                                                                                                        ,
                                                                                                            .,'i!j,i   ,
                                                                                                                  Offense I.:nded
                                                                                                                               I     . ..    '
                                                                                                                                                 Count
                                                                                                                                                 I..




       The defendant is sentenced as provided in pages 2 through                            of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
@count(s)         99,100 & 101                              is   d a r e dismissed on the motion of the United States.

          It is ordered that the defendant ,must notify the Uxeted States attomey for this district within 30 da s of any change of name, res/dence,
or rnailin address unti1,all fines, restItunon,,costs, and specla1 assessments nnposed by thls~udgmentare fuZy paid. If ordered to pay resbtutlon,
the defen%antmust not~fythe court and Unlted States attorney of rnatenal changes m econonuc cucumstances.




                                                                          J. Phil Gilbert                                    District Judge
                                                                         Name of Judge                                      Title of Judge
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A 0 245B      (Rev. 06105) Judgment in a Criminal Case             #232
              Sheet 4--Pmhntion
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                                                                                                           Judgment-Page
DEFENDANT: TIMOTHY GRACZYK                                                                                                           Of      -te,V
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                                                                 PROBATION
The defendant is hereby sentenced to probation for a term of :

 5 years on Count 102 of the 3rd Superseding Indictment




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at Yeast two periodic drug tests
thereafter, as detemuned by the court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
@ The defendant shall not possess a f~eaearm,ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation offlcee (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fme or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation nfficer;
  2)       the defendant sball report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
  3)       the defendant shall answer truthfully all inquiries by the probation onlcer and follow the instructions of the probation off~cer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
  5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
  6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physlc~an;
  8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)       the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so%y the profation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probahon off~cer;
 11)       the defendant shall notify the probation offlcer within seventy-twohours ofbeing arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)       as directed by the robation officer, the defendant shall notify ,thirdparties of risks that may be occasioned by the defendant's criminal
           record or           history or charactenshcs and shall pernnt the probahon officer to make such nohficatlons and to c o n i i i the
           defendant s compliance with such notification requirement.
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A 0 2458   (Rev. 06/05) Judgment in a Criminal Case             #233
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           Sheet 4 C
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DEFENDANT: TIMOTHY GRACZYK                                                                                  -
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall spend the first 6 months of probation on Home Confinement with electronic monitoring in
 accordance with district procedures and policies, and may be required to pay alllor a portion of the daily costs of electronic
 Monitoring, not to exceed the daily contractual rate.

 X The defendant shall pelform 20 hours of public service as directed by probation

 X The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 officer.

 X The defendant shall participate in financiallcredit counseling, if deemed necessary by the probation officer,

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the restitution in installments of $350.00 per
 month or ten percent of his net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicted monies.
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A 0 2458   (Rev. 06/05) Judgment in a Criminal Case             #234
           Sheet 5 - CrimGal Monetary Penalties


DEFENDANT: TIMOTHY GRACZYK
                                                                                                    Judgment - Page
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                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                     -
                                                                     Fine                                  Restitution
TOTALS             $ 100.00                                        $ 0.00                                $ 11,951.40



I3 The determination of restitution is defened until           . An Amended Judgment in a Criminal Case ( A 0 245C) will be entered
     after such determination.

B( The defendant must make restitution (including community restitution) to the following payees in the amount listed below
     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayrnent, unless specified otherwise in
     the priority order or percentage payment column%elow. However, pursuant to 18 8 s . k $ 3664{), all nonfederal victims must be paid
     before the United States is paid.

Name of Pavee                                                          Total*               Restitution Ordered       Priority or Percentaee

                                                                                                                            ..




TOTALS                                $               11,951.40            $                11,951.40


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612(g).

 81 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    @f the interest requirement is waived for the [7 fme C;d restitution.
      I3 the interest requirement for the             fine        restitution is modified as follows:



* Findings for the total amount of losses are re uiredunder Chapters 109A, 110, 1IOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 199%.
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A 0 2458   (Rev. 06105) Judgment in a Criminal Case             #235
           Sheet 6 -Schedule   of Payments

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DEFENDANT: TIMOTHY GRACZYK
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                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     @ Lump sum payment of $                                due immediately, balance due

           IJ not later than                                     , Or
                 in accordance                C,       D,         E, or         F below; or
B          Payment to begin immediately (may be combined with              C,           D, or    IJ F below); or
C     IJ Payment inequal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                          (e.g., months or years), to conunence                (e.g., 30 or 60 days) after the date of this judgment; or
D          Payment inequal                      (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E J-I      Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     I$   Special instructions regarding the payment of criminal monetaty penalties:
            While on probation the defendant shall make monthly payments in the amount of $350.00 or ten percent of his net
            monthly income, whichever is greater toward restitution.




L1nlessthe coun has express1 ordered otherwlbc, if thls judgmellt imposcs imprisonment, a ent of criminal monctary penalties 1s due dunn
unpnsovcnt. ,411 crlminaYmoncta pcnaltles, cxcept those payments made througR t c ~ e d e r a Bureaul      of I'risons' lnnwte ~ l n a n c i 8
Kesponslhll~ryProgram are madr to #e clerk of the coun.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



B( Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
        Timothy Graczyk 04-40027-002 and Lesa Graczyk 04-40027-001 ($11,951.40)



      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Paymcnts shall be appl~edin the following order: (1 assessment, (2) rest~tutionprinc~pal,(3) restitur~oninterest, (4) line prtncipal,
( 5 ) fmc interest, ( 6 )community resrltution, (7) pena/tles. and ( 8 ) costs. lncludlng cost of prosecution and coun costs.
